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Pro Se 14 (Rey. 12/16 Complaint for Violation of Civil Rights Prisoner,

   

UNITED STATES DISTRICT COURT

 

   

 

for the
District of
Division
) Case No. 4 | AGECEL
to be filled in by the Clerk’s Office
Sofden Dowcarra Co be Med in ty he COPS Ofc)
Plaintiff(s) )
(Write the full name of each plaintiff who is filing this complaint.
if the names of all the plaintiffs cannot fil in the space above, ) FILED
please write “see attached” in the space and attach an additional )
page with the full list of names.) } SC
~V- )
Oct 9.5, 2018
) -
/ )
0. sr )
Defendant(s) )
(Write the full name of each defendant who is being sued. If the }
names of all the defendants cannot fil in the space above, please )

write “see attached” in the space and attach an additional page
with the full list of names. Do not include addresses here.)

‘
COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
(Prisoner Complaint)

 

NOTICE

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
electronic court files. Under this rule, papers filed with the court should nof contain: an individual’s full social
security number or full birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include only: the last four digits of a social security number; the year of an individual’s
birth; a minor’s initials; and the last four digits of a financial account number.

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
other materials to the Clerk’s Office with this complaint.

In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
forma pauperis.

 

 

 

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Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Pri

 

1, The Parties to This Complaint

A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

 

 

 

 

 

 

needed,
Name Serolon Dowlarer
All other names by which
you have been known:
ID Number E0707 -O€0
Current Institution OS BP cAVARAN
Address P-©, Bax 3090
Waymaed fA _/¥472
City State Zip Code

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. Make sure that the defendant(s)
listed below are identical to those contained in the above caption. For an individual defendant, include
the person’s job or title (known) and check whether you are bringing this complaint against them in their
individual capacity or official capacity, or both. Attach additional pages if needed.

Defendant No. |

 

 

 

 

 

 

Name \\. Srck
Job or Title (if nown) officer
Shield Number ? _
Employer ?
Address z
City State Zip Code

[__]Individual capacity {[_ ] Official capacity

Defendant No. 2

 

 

 

 

 

 

Name <. T .S Woaker
Job or Title (i known)
Shield Number On Camera
Employer
Address
City State Zip Code

[ | Individual capacity [ ] Official capacity

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Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)

IL.

Defendant No. 3

 

 

 

 

 

 

Name Sr Ls LW seke
Job or Title (if known)
Shield Number ow CAmeraA
Employer
Address
City State Zip Code

[] Individual capacity C] Official capacity

Defendant No. 4
Name
Job or Title (if known)
Shield Number
Employer
Address

 

 

 

 

 

 

City State Zip Code
[] Individual capacity C] Official capacity

Basis for Jurisdiction

Under 42 U.S.C. § 1983, you may sue state or local officials for the “deprivation of any rights, privileges, or
immunities secured by the Constitution and [federal laws].” Under Bivens v. Six Unknown Named Agents of
Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain
constitutional rights.

A. Are you bringing suit against (check all that apply):
[Al Federal officials (a Bivens claim)

State or local officials (a § 1983 claim)

B. Section 1983 allows claims alleging the “deprivation of any rights, privileges, or immunities secured by
the Constitution and [federal laws].” 42 U.S.C. § 1983. If you are suing under section 1983, what
federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?

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Cc. Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you
are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal

officials? gt Amendmonth Ove prestes Riaht Life, Liberty »Qenth

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D, Section 1983 allows defendants to be found liable only when they have acted “under color of any
statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia.”
42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
federal law. Attach additional pages if needed.

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Ii. Prisoner Status

Indicate whether you are a prisoner or other confined person as follows (check all that apply):

Pretrial detainee

Civilly committed detainee
Immigration detainee

Convicted and sentenced state prisoner

Convicted and sentenced federal prisoner

ONOOOO

Other (explain)

 

Tv. Statement of Claim

State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Attach additional pages if needed.

A. If the events giving rise to your claim arose outside an institution, describe where and when they arose.

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B. If the events giving rise to your claim arose in an institution, describe where and when they arose.

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Page 4 of 11
 

Cc, What date and approximate time did the events giving rise to your claim(s) occur?

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D. What are the facts underlying your claim(s)? (For example: What happened to you? Whe did what?
Was anyone else involved? Who else saw what happened?)

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Vv. Injuries

If you sustained injuries related to the events alleged above, describe your injuries and state what medical
treatment, if any, you required and did or did not receive.

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VI. Relief

State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
the acts alleged. Explain the basis for these claims.

Have A Hearing with pk. seth ard A au fs decide
What fe de | MR Smith Loose his Sob AND make Sure
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Exhaustion of Administrative Remedies Administrative Procedures

The Prison Litigation Reform Act (“PLRA”), 42 U.S.C. § 1997e(a), requires that “[nJo action shall be brought
with respect to prison conditions under section 1983 of this title, or any other Federal law, by a prisoner confined
in any jail, prison, or other correctional facility until such administrative remedies as are available are
exhausted.”

Administrative remedies are also known as grievance procedures. Your case may be dismissed if you have not
exhausted your administrative remedies.

A.

Did your claim{s) arise while you were confined in a jail, prison, or other correctional facility?

A Yes
C] No

If yes, name the jail, prison, or other correctional facility where you were confined at the time of the
events giving rise to your claim(s).

USP Canaan po Bx 200 waynAtt FA. (F472,

Does the jail, prison, or other correctional facility where your claim(s) arose have a grievance
procedure?

[A Yes
CJ No

LJ Do not know

Does the grievance procedure at the jail, prison, or other correctional facility where your claim(s) arose
cover some or all of your claims?

lA Yes
[J No

EJ Do not know

Ifyes, which claim(s)? —Phs¢ claim, Z fileA A Be A Through He

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Pro Se 14 (Rev. 12/ 16) Complaint for Violation of Civil Rights (Prisoner)

 

D. Did you file a grievance in the jail, prison, or other correctional facility where your claim(s) arose

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If no, did you file a grievance about the events described in this complaint at any other jail, prison, or

fn File a grieva .
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[} Yes %

] No

E. If you did file a grievance:

1. Where did you file the grievance?

yes 8p 7 ard __ Bp Jd

2. What did you claim in your grievance?

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3. What was the result, if any?

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4, What steps, if any, did you take to appeal that decision? Is the grievance process completed? If
not, explain why not. (Describe all efforts to appeal to the highest level of the grievance process.)

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Se 14 (Rev. 12/16) Complaint for Violation of Civil Righ

   

F, If you did not file a grievance:

1. Ifthere are any reasons why you did not file a grievance, state them here:

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2. Ifyou did not file a grievance but you did inform officials of your claim, state who you informed,
when and how, and their response, if any:

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G. Please set forth any additional information that is relevant to the exhaustion of your administrative
remedies.

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(Note: You may attach as exhibits to this complaint any documents related to the exhaustion of your
administrative remedies.)

VHI. Previous Lawsuits
The “three strikes rule” bars a prisoner from bringing a civil action or an appeal in federal court without paying
the filing fee if that prisoner has “on three or more prior occasions, while incarcerated or detained in any facility,
brought an action or appeal in a court of the United States that was dismissed on the grounds that it is frivolous,

malicious, or fails to state a claim upon which relief may be granted, unless the prisoner is under imminent
danger of serious physical injury.” 28 U.S.C. § 1915(g).

To the best of your knowledge, have you had a case dismissed based on this “three strikes rule”?

CJ Yes
[A] No

If yes, state which court dismissed your case, when this occurred, and attach a copy of the order if possible.

 

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A. Have you filed other lawsuits in state or federal court dealing with the same facts involved in this
action?
[] Yes
No

B, If your answer to A is yes, describe each lawsuit by answering questions | through 7 below. (if there is

more than one lawsuit, describe the additional lawsuits on another page, using the same format.)

1. Parties to the previous lawsuit
Plaintiff{s)
Defendant(s)

 

 

2. Court (if federal court, name the district; if state court, name the county and State)

 

3. Docket or index number

 

4. Name of Judge assigned to your case

 

5. Approximate date of filing lawsuit

 

6. Is the case still pending?

[] Yes
C] No

If no, give the approximate date of disposition.

 

7. What was the result of the case? (For example: Was the case dismissed? Was judgment entered
in your favor? Was the case appealed?)

 

C. Have you filed other lawsuits in state or federal court otherwise relating to the conditions of your
imprisonment?

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= SCS a
C] Yes
[_] No

D. If your answer to C is yes, describe each lawsuit by answering questions 1 through 7 below. (if there is

more than one lawsuit, describe the additional lawsuits on another page, using the same format.)

1. Parties to the previous lawsuit
Plaintiff(s)

 

Defendant(s)

 

2, Court (if federal court, name the district; if state court, name the county and State)

 

3. Docket or index number

 

4. Name of Judge assigned to your case

 

5. Approximate date of filing lawsuit

 

6. Is the case still pending?

[] Yes
[J No

If no, give the approximate date of disposition

 

7. What was the result of the case? (For example: Was the case dismissed? Was judgment entered
in your favor? Was the case appealed?)

 

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IX.

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Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner

 

Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A, For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case—-related papers may be
served, I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing: Y f. a TA / &

Signature of Plaintiff

Printed Name of Plaintiff “S6R06~ Os. wbARRA
Prison Identification # 60707-2260

Prison Address f.0. fox FOO
Wayman? FA. 147A

City State Zip Code

 

B. For Attorneys

Date of signing:

 

Signature of Attorney

 

Printed Name of Attomey

 

Bar Number

 

Name of Law Firm
Address

 

 

 

City State Zip Code

Telephone Number
E-mail Address

 

 

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IV. EXHAUSTION OF LEGaL REMEDIES

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VERIFICATION

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Jordan Doaigarra

Reg. No. 60707-060

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SPECIAL MAIL - OPEN ONLY IN THE
PRESENCE OF THE INMATE

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Waymart, PA 18472
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REJECTION NOTICE - ADMINISTRATIVE REMEDY q

DATE: SEPTEMB 20, 2018

FROM: ADMINISTRATIVE REMEDY COORDINATOR
NORTHEAST REGIONAL OFFICE

TO : JORDAN LOUIS DONGARRA, 60707-0600
CANAAN USP UNT: D1-RDAP QTR: DO1-124L
PO BOX 400
WAYMART, PA 18472

FOR THE REASONS LISTED BELOW, THIS REGIONAL APPEAL
IS BEING REJECTED AND RETURNED TO YOU. YOU SHOULD INCLUDE A COPY
OF THIS NOTICE WITH ANY FUTURE CORRESPONDENCE REGARDING THE REJECTION.

REMEDY ID

: 954194-R1 REGIONAL APPEAL

DATE RECEIVED : SEPTEMBER 17, 2018

SUBJECT 1
SUBJECT 2

: UNPROFESSIONAL, INAPPROPRIATE CONDUCT OR MISCONDUCT SY STAFF

INCIDENT RPT NO:

REJECT REASON 1: YOU MUST FIRST FILE A BP-9 REQUEST THROUGH THE INSTITUTION

FOR THE WARDEN'S REVIEW AND RESPONSE BEFORE FILING AN APPEAL
AT THIS LEVEL.

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of personal service by a professional process service or
a marshal.

The summons and complaint are the only documents
you have to serve on defendants in this special way.
However, it is very important to request the Local
Rules from the district you plan to file in because
different courts have different rules about filing and
serving documents after the case has started. Different
courts require different numbers of copies. You should
follow the local rules whenever possible. In general,
you will need to send the original of each document
and one copy for each defendant to the Clerk of the
Court for the U.S. District Court for your district. Also
include two extra copies — one for the judge and one for
the clerk to endorse (showing when and where it was
filed) and return to you as your official copy. The court
will have a marshal deliver a copy to each defendant,
unless you ask that someone else be appointed to
deliver them.

Be sure to keep your own copy of everything you send
the court, in case your papers are lost in the mail or
misplaced in the clerk’s office. If you cannot make
photocopies, make copies by hand. If you are
cencerned about the safety of your documents, you
might want to consider sending a copy of them to
someone you trust on the outside. Try to always have a
copy you can get access to easily.

SECTION &

 

Getting immediate Help Fram the Court
Ordinarily a federal lawsuit goes on.for months or years
before the court reaches any decision. But you may
need help from the court long before that. A U.S,
District Court Judge has the power to order prison
officials to stop doing certain things while the judge is
considering your suit. The judge can do this by issuing
a Temporary. Restraining Order (TRO) or a Preliminary
Injunction, or both. — .

Chapter Four, Section B explains when you are eligible
for an injunction. If you decide to go ahead and try to
get a preliminary injunction or a TRO, you will need to
follow the instructions below.

If you think you meet all the tests for immediate help
from the court, submit a “Temporary Restraining Order
and Order to Show Cause for a Preliminary Injunction.”
You can do this in one motion and you can use this
example:

 

 

In the United States District Court’ aon
For the m

 

 

x

Name of first plaintiff
in the case, et al.,

  
 
 
   
 

 
     

QE
Names of first defendant

 

 

 

 

Explanation of Form:
if you want a TRO, include the parts of this form that

are . If you do not want a TRO and
are only asking for a preliminary injunction leave the
darker parts out.

JAILHOUSE LAWYER’S HANDBOOK — CHAPTER FIVE

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prison account statement, include in your Declaration

  
 
   
  
     
   
   
   
 
   
  
  

c. Pensions, annuities, or-life insurance payments?.:.!
an explanation of why you could not get the account VES NO #00
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i district court clerk’s office. If you have to use this YES . “NO Z: aa
Declaration, copy it exactly, and fill in your answers, STEP TPT

taking as much space as you need. If the answer to-any of questions (a) through ¢

 

 

 

 

    

 

 

 

 
 

    
  

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yes, 'state the total value owned: Bh

 

 

  

 

 

 

 

 

 

 

 

 

   

 

   

Explanation of Form:

  

 

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JAILHOUSE LAWYER'S HANDBOOK ~ CHAPTER FIVE

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“and others.” You on é

more than one plaintiff or defendant. However, be
aware that if there is more than one plaintiff in your
lawsuit, each plaintiff needs to file his or her own
Application to Proceed in Forma Pauperis and
Declaration.

In Part (if you have never been employed, just say
that. If you have a job in prison, state that.

In Part Fj, you should include any money you have in
a prison account.

Some of these questions may sound weird, or not apply
to you -- Part for example, However, answer them
anyway. Like for question 7, just state that you do not
live in an apartment.

Costs of Filing Your Lawsuit

 

Although the judge does not have to let you sue in
forma pauperis, he ot she almost always will if you
show you are poor and your suit has a legal basis. You
do not need to be absolutely broke. Even if you are

' given in forma pauperis status, you will still have to

pay some money to the court.

Section 1915(b)(1) of Title 28 of the U.S. Code directs -
the judge to compare your monthly deposits and the © ~
average balance for your prison account: The judge will
see which amount is larger -- your monthly deposits or
your prison account’s average balance. Then, the judge
will decide that you must pay twenty percent (20%) of
the larger amount right away. If twenty percent is less

than $350, then Section 1915(b)(2) states that you must

pay twenty percent of the monthly deposits to your
account until the $350 is paid. If the court decides you
are not poor or your suit is “frivolous,” it will return
your legal papers and you will have to find a way to
pay the full amount.

There are lots of benefits to gaining in forma pauperis
status. You may avoid having to pay witness fees for
depositions and at trial. If you appeal, you may not .
have to pay the costs of preparing transcripts. In
addition, some courts have used Section 1915 to
appoint a lawyer to represent a prisoner in a Section
1983 suit and even to pay the lawyer’s expenses. This
is discussed in Part 3 of this section.

Unfortunately, in forma pauperis status affects only a
very small part of the expense of your lawsuit. It will
not pay for postage or for making photocopies, and it
will not cover the costs of “pretrial discovery,” which is
discussed in Chapter Six, Part E. However, you may be

:18-cy- -JPW-PT Document 1 Filed 10/05/18 Page 26
Su 0 ly need to Fete ph a therelfe f of

- 28 U.S.C.A. §:1915(g). This provision means that if

 

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able to recover ‘om the defendants if

you win.

ese expenses

The Problem of Three Strikes:
The “three strikes provision” of the PLRA states:

In no event shall a prisoner bring a civil action
or appeal a judgment in a civil action or
proceeding under this section fin forma
pauperis] if the prisoner has, on 3 or more
prior occasions, while incarcerated or
detained in any facility, brought an action or
appeal in a court of the United States that was
dismissed on the grounds that it is frivolous,
malicious, or fails to state a claim upon which
relief may be granted, unless the prisoner is
under imminent danger of serious physical

injury.

you have had three complaints or appeals dismissed as
“frivolous,” “malicious,” or “failing to state a claim,”
you cannot proceed in forma pauperis. This means you
will have to pay the entire filing fee up front, or your
case will be dismissed. The only way to get around
“three strikes” is to show you are in imminent danger
of serious injury.

 

The PLRA is very specific about what dismissals count .
as strikes: these are dismissals for “frivolousness,”
“maliciousness,” or “failure to state a claim.” Frivolous
means that the court believes your suit is not serious or
has no chance of winning. In legal terms, the court
believes that your case has “no legal merit.” Malicious
means that the court believes you are filing your suit
only to get revenge or do harm to others, rather than
uphold your rights. Failure to state a claim means that
the court could not find any cause of action in your suit,
which means that the facts you included in your
complaint, even if true, do not amount to a violation of
your rights.

 

A case dismissed on some other ground is not a strike.
A summary judgment is not a strike. A “partial
dismissal” — an order that throws out some claims, but
lets the rest of the-case go forward ~ is not a strike. A
case that you voluntarily withdraw will usually not be
considered a strike. A dismissal is not a strike if it is
impossibie to tell what the basis for the dismissal was.
Dismissal in a habeas corpus action is not a strike,

Dismissals may be strikes even if you didn’t have in
jorma pauperis status for the case. Cases filed or
dismissed before the PLRA was enacted have also been

JAILHOUSE LAWYER’S HANDBOOK ~ CHAPTER FIVE

 
   

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